Case 1:10-cv-01270-AJT-TCB Document5-2 Filed 11/17/10 Page 1 of 7 PagelD# 144

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IN THE CIRCUIT COURT OF FAIRFAX COUNTY 7 BA Gt 08

CRICKET TECHNOLOGIES, LLC,

Complainant,

v. Chancery No.
BRUCE V. HARTLEY CH 29005 §243

46227 Trillum Square, Apt. 103

Sterling, Virginia 20165,

and

DELOITTE & TOUCHE LLP

Serve: John C. Jacoby, Registered Agent

707 East Main Street
Richmond, Virginia 23219,

Defendants.

BILL OF COMPLAINT

Complainant Cricket Technologies, LLC, for its bill of complaint, respectfully
represents as follows:

1. Cricket Technologies, LLC ("Cricket") is a limited liability company
organized and existing under the laws of the State of Delaware and having a place of
business in Fairfax County, Virginia.

2. Defendant Bruce V. Hartley ("Hartley") is an individual who resides in
Fairfax County, Virginia.

EXHIBIT

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Case 1:10-cv-01270-AJT-TCB Document5-2 Filed 11/17/10 Page 2 of 7 PagelD# 145

3. Defendant Deloitte & Touche LLP ("Deloitte") is a limited liability
partnership organized and existing under the laws of the State of Delaware, qualified to
do business in Virginia and having a place of business in Fairfax County, Virginia.

| 4, Venue is proper as to the claims set forth herein in Fairfax County,
Virginia because of the residence of the parties and because the claims herein arose in
Fairfax County, Virginia.

General Allegations

5. On or about July 23, 2004, Cricket as the employer and Hartley as the
employee entered into a certain Employment Agreement ("Employment Agreement")
under which Cricket agreed to employ Hartley, subject to the terms thereof.

6. Under the Employment Agreement, Hartley was employed as Cricket's
chief technology officer and as such assumed a relationship of trust and confidence with
Cricket.

7. During the course of his employment by Cricket, Hartley was provided
access to Cricket's confidential and proprietary information, and pursuant to the
Employment Agreement, Hartley acknowledged he was provided access to such
confidential and proprietary information and agreed to not disclose such information to
anyone.

8. During the course of Hartley's employment by Cricket and continuing to
the present time, Cricket was engaged in the eDiscovery and Forensics litigation support
business, specifically the business of providing to attorneys, their clients and their
consultants professional, services in the electronic collection and processing of electronic

information during the discovery phase of litigation and services in connection with the
Case 1:10-cv-01270-AJT-TCB Document5-2 Filed 11/17/10 Page 3 of 7 PagelD# 146

analysis and management of such data and databases. As Cricket's chief technology
officer, Hartley had access to Cricket's confidential and proprietary information.

9. Under the Employment Agreement, Hartley agreed that during the period
of his employment by Cricket, and for one year after the later of (i) the effective date of
termination of the Employment Agreement, or (ii) the date of entry by a court of
competent jurisdiction of a final judgment enforcing the non-competition covenant under
the Employment Agreement, he would not compete with the business of Cricket in which
he had been engaged during the period of his employment, participated in planning to
engage in on behalf of Cricket, or about which he obtained confidential information of
Cricket while employed by Cricket. Hartley further agreed, for the same period, that he
would not assist a competitor of Cricket by providing consulting or other services to such
competitor. These agreements are referred to herein as "the Covenants."

10. Onor about September 14, 2005, Hartley resigned from his employment
by Cricket and pursuant to the Employment Agreement, Hartley's employment by Cricket
was accordingly terminated.

11. On an exact date not known to Cricket but not later than November 3,
2005, Hartley became employed by Deloitte. According to Deloitte, the following
describes Hartley's employment by Deloitte:

Building the e-Discovery Team

Dr. Bruce Hartley recently joined us as a director in AFT based in the Washington

D.C. office. Bruce has more than 24 years of technical and managerial experience

in systems, software and security engineering. Most recently, he was the Chief

Technology Officer at Cricket Technologies, a leading e-Discovery and Forensics

firm. Bruce's expertise in technology and database solutions as well as his

experience in marketing services to the legal community makes him an
exceptional fit for the F&DS AFT practice.
Case 1:10-cv-01270-AJT-TCB Document5-2 Filed 11/17/10 Page 4 of 7 PagelD# 147

Bruce will work with our current team on designing and implementing new
technologies, improving our technology delivery associated with e-discovery,
selling/managing projects and help manage/service the SE AFT resources.

12. According to Deloitte, its AFT business in which Hartley is employed
provides a service that includes digital evidence collection in which electronic data is
collected and electronic discovery in which its software sifts and analyzes records, AA his
is the same business in which Cricket is engaged and in which Cricket was engaged
during the period of Hartley’s employment, and the same business in which Hartley was
engaged regularly and directly as Cricket’s chief technology officer.

13. Under the Employment Agreement, Hartley agreed to provide any entity
that offered employment to him while the Covenants are in place a copy of the
Employment Agreement. The Covenants are in place, and therefore Hartley either
provided a copy of the Employment Agreement to Deloitte, or he breached the
Employment Agreement in not providing a copy of the Employment Agreement to
Deloitte.

14. The business of Deloitte in which Hartley is engaged is the same or
similar to the business of Cricket, and Deloitte is rendering services in employing Hartley
that are the same or similar to the services provided by Cricket while Hartley was
employed by Cricket.

15. Deloitte is a competitor of Cricket under the terms of the Employment
Agreement, and Hartley is assisting a competitor of Cricket by providing services to
Deloitte.

16. Under the Employment Agreement, Hartley agreed that if he breached the

Covenants that proscribe his competing with Cricket during the one year period after his
Case 1:10-cv-01270-AJT-TCB Document5-2 Filed 11/17/10 Page 5 of 7 PagelD# 148

employment is terminated, Cricket would be harmed irreparably and Cricket would
accordingly be entitled to temporary and permanent injunctive relief to restrain Hartley’s
violation of the Covenants, and to recover in any such action the cost of reasonable
attorney’s fees.

Count |
(Injunctive Relief)

17. The allegations of paragraphs 1-16 are incorporated into this Count I by
reference.

18. Hartley's continuing employment by Deloitte constitutes a breach of the
Covenants and therefore a breach of the Employment Agreement between Harley and
Cricket.

19. Cricket is being harmed by Hartley's breach of the Employment
Agreement, and Cricket will continue to be harmed by such breach.

20. | Upon information and belief, Deloitte employed Hartley with knowledge
of the terms of the Employment Agreement, and Deloitte's employment of Hartley is
accordingly facilitating Hartley's breach of the Employment Agreement.

21. Cricket is entitled to temporary and permanent injunctive relief to restrain
Hartley's breach of the Employment Agreement, and Deloitte's facilitation of Hartley's
breach of the Employment Agreement.

Count I
(Business Conspiracy)

22. The allegations of paragraphs 1-21 are incorporated into this Count II by

reference.
. Case 1:10-cv-01270-AJT-TCB Document5-2 Filed 11/17/10 Page 6 of 7 PagelD# 149

23. | Theclaim in this Count II arises under the Virginia Business Conspiracy
Statute, Va. Code §§ 18.2-499, 500.

24. Hartley and Deloitte have combined, associated and agreed together to
willfully and maliciously injure Cricket in its trade or business by actively causing
Hartley to breach the Covenants set forth in the Employment Agreement.

25. Cricket has been and will be injured in its trade or business by the
unlawful combination and agreement of Hartley and Deloitte, in violation of Va. Code §
18.2-499, and Cricket is accordingly entitled to injunctive relief restraining such violation
pursuant to Va. Code § 18.2-500.

26. Cricket is entitled to an award of its reasonable counsel fees in accordance
with Va. Code § 18.2-500.

WHEREFORE, Cricket requests that the Court enter its decree as follows:

(a) Awarding to Cricket a temporary and a permanent injunction, restraining
Hartley, for the later of (i) the period through September 14, 2006 or (ii) the date that is
one year after this Court enters a final decree enforcing the non-competition covenant at
issue in this cause, from being employed by Deloitte in violation of the Employment
Agreement, and restraining Deloitte for the same period from employing Hartley in
violation of the Employment Agreement, and in addition, awarding to Cricket the cost of
its reasonable attorney's fees as provided in the Employment Agreement.

(b) Finding that Hartley and Deloitte have violated the Virginia Business
Conspiracy Statute, and awarding to Cricket the same injunctive relief awarded under (a)
above, together with the costs it has incurred herein, including its reasonable counsel

fees.
Case 1:10-cv-01270-AJT-TCB Document5-2 Filed 11/17/10 Page 7 of 7 PagelD# 150
(c) Granting to Cricket such other and further relief as is just and proper.

Respectfully submitted,

Dos .
Dated: November /7 , 2005 AA. We At

Michael McGettigan
Va. Bar No. 13426
Richards McGettigan Reilly & West, P.C.
1725 Duke Street, Suite 600
Alexandria, Virginia 22314
(703) 549-5353
Attorney for complainant

